                     Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 1 of 20


            1    GIBSON, DUNN & CRUTCHER LLP
                 THEANE EVANGELIS, SBN 243570
            2     tevangelis@gibsondunn.com
                 DHANANJAY S. MANTHRIPRAGADA, SBN 254433
            3     dmanthripragada@gibsondunn.com
                 BRANDON J. STOKER, SBN 277325
            4     bstoker@gibsondunn.com
                 333 South Grand Avenue
            5    Los Angeles, CA 90071-3197
                 Telephone: 213.229.7000
            6    Facsimile: 213.229.7520
            7    MICHELE L. MARYOTT, SBN 191993
                   mmaryott@gibsondunn.com
            8    GIBSON, DUNN & CRUTCHER LLP
                 3161 Michelson Drive
            9    Irvine, CA 92612-4412
                 Telephone: 949.451.3800
           10    Facsimile: 949.451.4220
           11    Attorneys for Defendants
                 GRUBHUB HOLDINGS INC. and GRUBHUB INC.
           12

           13
                                              UNITED STATES DISTRICT COURT
           14
                                           NORTHERN DISTRICT OF CALIFORNIA
           15
                                                   SAN FRANCISCO DIVISION
           16
                 RAEF LAWSON, in his capacity as Private      CASE NO. 3:15-cv-05128-JSC
           17    Attorney General Representative,
                                                              DEFENDANTS GRUBHUB HOLDINGS INC.
           18                        Plaintiff,               AND GRUBHUB INC.’S OPPOSITION TO
                                                              PLAINTIFF’S MOTION FOR PARTIAL
           19          v.                                     SUMMARY JUDGMENT ON THE LEGAL
                                                              STANDARD GOVERNING HIS EXPENSE
           20    GRUBHUB HOLDINGS INC. and                    REIMBURSEMENT CLAIM
                 GRUBHUB INC.,
           21                                                 Hearing:
                                     Defendants.              Date:           July 7, 2022
           22                                                 Time:           9:00 a.m.
                                                              Place:          Courtroom 8
           23
                                                              Judge:          Hon. Jacqueline Scott Corley
           24                                                 Action Filed:   September 23, 2015
                                                              Trial Date:     Not set
           25

           26

           27

           28

Gibson, Dunn &
Crutcher LLP
                       GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                CASE NO. 3:15-CV-05128-JSC
                        Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 2 of 20


            1                                                       TABLE OF CONTENTS

            2                                                                                                                                             Page

            3    I.      INTRODUCTION .................................................................................................................... 1

            4    II.     BACKGROUND ...................................................................................................................... 2

            5    III.    ARGUMENT ............................................................................................................................ 5

            6            A.        Dynamex Is Limited to the Wage Order Context. ......................................................... 5

            7            B.        Plaintiff’s Expense Reimbursement Claim Arises from Labor Code Section
                                   2802—Not Wage Order 9. ............................................................................................ 8
            8
                         C.        Assembly Bill 5 Does Not Expand Dynamex Retroactively. ...................................... 13
            9
                 IV.     CONCLUSION ....................................................................................................................... 14
           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &                                                                         i
Crutcher LLP
                         GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                  CASE NO. 3:15-CV-05128-JSC
                        Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 3 of 20


            1                                                     TABLE OF AUTHORITIES

            2                                                                                                                                        Page(s)

            3
                 CASES
            4
                 Alvarez v. XPO Logistics Cartage LLC,
            5       2018 WL 6271965 (C.D. Cal. Nov. 15, 2018) ................................................................................12
            6    Apple Inc. v. Samsung Elecs. Co.,
            7       2017 WL 3232424 (N.D. Cal. July 28, 2017) .................................................................................10

            8    Arnold v. Mut. of Omaha Ins. Co.,
                    202 Cal. App. 4th 580 (2011) ...........................................................................................................6
            9
                 Becerra v. McClatchy Co.,
           10       69 Cal. App. 5th 913 (2021) ................................................................................................... passim
           11    Burrell v. Cty. of Santa Clara,
           12       2013 WL 2156374 (N.D. Cal. May 17, 2013) ..................................................................................9

           13    Cal. Trucking Ass’n v. Su,
                    903 F.3d 953 (9th Cir. 2018).........................................................................................................6, 8
           14
                 Chaganti v. I2 Phone Int’l, Inc.,
           15       313 F. App’x 54 (9th Cir. 2009) .......................................................................................................9
           16    City of Emeryville v. Robinson,
                     621 F.3d 1251 (9th Cir. 2010).....................................................................................................2, 14
           17

           18    Coleman v. Quaker Oats Co.,
                    232 F.3d 1271 (9th Cir. 2000)...........................................................................................................9
           19
                 Duffey v. Tender Heart Home Care Agency, LLC,
           20       31 Cal. App. 5th 232 (2019) .............................................................................................................7
           21    Dynamex Operations W., Inc. v. Superior Ct.,
                    4 Cal. 5th 903 (2018) .............................................................................................................. passim
           22
                 Espejo v. The Copley Press, Inc.,
           23
                    13 Cal. App. 5th 329 (2017) ...........................................................................................................10
           24
                 Estrada v. FedEx Ground Package Sys., Inc.,
           25        154 Cal. App. 4th 1 (2007) ...............................................................................................................9

           26    Facebook, Inc. v. Power Ventures, Inc.,
                    252 F. Supp. 3d 765 (N.D. Cal. 2017) ........................................................................................2, 10
           27
                 Foti v. McHugh,
           28
                    247 F. App’x 899 (9th Cir. 2007) ...................................................................................................14
Gibson, Dunn &                                                                         ii
Crutcher LLP
                           GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                    CASE NO. 3:15-CV-05128-JSC
                        Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 4 of 20

                                                                   TABLE OF AUTHORITIES
            1                                                            (continued)

            2                                                                                                                                          Page(s)

            3    Garcia v. Border Transp. Grp., LLC,
                    28 Cal. App. 5th 558 (2018) .............................................................................................6, 7, 10, 11
            4
                 Gattuso v. Harte-Hanks Shoppers, Inc.,
            5       42 Cal. 4th 554 (2007) ......................................................................................................................8
            6
                 Gonzales v. San Gabriel Transit, Inc.,
            7       40 Cal. App. 5th 1131 (2019) .....................................................................................................6, 12

            8    Goro v. Flowers Foods, Inc.,
                    2021 WL 4295294 (S.D. Cal. Sept. 21, 2021) ................................................................................13
            9
                 Haitayan v. 7-Eleven, Inc.,
           10       2021 WL 757024 (C.D. Cal. Feb. 8, 2021) ...............................................................................11, 14
           11
                 Hanover Ins. Co. v. Poway Acad. of Hair Design, Inc.,
           12       2016 WL 6698936 (S.D. Cal. Nov. 14, 2016) ..................................................................................8

           13    Henderson v. Equilon Enters., LLC,
                    40 Cal. App. 5th 1111 (2019) ...........................................................................................................7
           14
                 Henry v. Cent. Freight Lines, Inc.,
           15       2021 WL 3187257 (E.D. Cal. July 28, 2021) ...........................................................................12, 14
           16    Hernandez v. Pac. Bell Tel. Co.,
           17       29 Cal. App. 5th 131 (2018) ...........................................................................................................13

           18    Johnson v. VCG-IS, LLC,
                    2018 WL 3953771 (Cal. Super. Ct. July 18, 2018) ........................................................................12
           19
                 Lawson v. Grubhub, Inc.,
           20       13 F.4th 908 (9th Cir. 2021) ...................................................................................................2, 4, 14
           21    Martinez v. Combs,
                   49 Cal. 4th 35 (2010) ........................................................................................................................7
           22

           23    McClung v. Emp. Dev. Dep’t,
                   34 Cal. 4th 467 (2004) ....................................................................................................................14
           24
                 Medina v. Equilon Enters., LLC,
           25      68 Cal. App. 5th 868 (2021) .............................................................................................................7
           26    Moreno v. JCT Logistics, Inc.,
                   2019 WL 3858999 (C.D. Cal. May 29, 2019) ................................................................................12
           27

           28    Navajo Nation v. U.S. Forest Serv.,
                    535 F.3d 1058 (9th Cir. 2008) (en banc).......................................................................................1, 9
Gibson, Dunn &                                                                         iii
Crutcher LLP
                           GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                    CASE NO. 3:15-CV-05128-JSC
                        Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 5 of 20

                                                                   TABLE OF AUTHORITIES
            1                                                            (continued)

            2                                                                                                                                          Page(s)

            3    Rosset v. Hunter Eng’g Co.,
                    2018 WL 4659498 (Cal. Ct. App. Sept. 27, 2018)..........................................................................11
            4
                 S. Cal. Pizza Co., LLC v. Certain Underwriters at Lloyd’s, London etc.,
            5        40 Cal. App. 5th 140 (2019) .........................................................................................................7, 8
            6
                 S.G. Borello & Sons, Inc. v. Dep’t of Indus. Rels.,
            7       48 Cal. 3d 341 (1989) .......................................................................................................................1

            8    Salgado v. Daily Breeze,
                    2018 WL 2714766 (Cal. Ct. App. June 6, 2018) ............................................................................11
            9
                 Salter v. Quality Carriers, Inc.,
           10        2021 WL 5049054 (C.D. Cal. Oct. 27, 2021) .......................................................................2, 11, 14
           11
                 Valadez v. CSX Intermodal Terminals, Inc.,
           12       2019 WL 1975460 (N.D. Cal. Mar. 15, 2019) ............................................................................8, 12

           13    Vazquez v. Jan-Pro Franchising Int’l, Inc.,
                    10 Cal. 5th 944 (2021) ..................................................................................................................4, 6
           14
                 W. Sec. Bank v. Super. Ct.,
           15       15 Cal. 4th 232 (1997) ....................................................................................................................14
           16    STATUTES AND RULES
           17
                 Cal. Lab. Code § 2785 ..................................................................................................................4, 5, 14
           18
                 Cal. Lab. Code § 2802 .................................................................................................................. passim
           19
                 Cal. Code Regs. tit. 8, § 11090 ..................................................................................................... passim
           20
                 OTHER AUTHORITIES
           21
                 Merriam-Webster’s Collegiate Dictionary (11th ed. 2020) ..................................................................10
           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &                                                                         iv
Crutcher LLP
                           GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                    CASE NO. 3:15-CV-05128-JSC
                      Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 6 of 20


            1                                         I.      INTRODUCTION
            2           The common law test articulated in S.G. Borello & Sons, Inc. v. Department of Industrial
            3    Relations, 48 Cal. 3d 341 (1989), continues to govern Plaintiff’s classification for purposes of his
            4    expense reimbursement claim, and the Court should join the chorus of decisions reaching the same
            5    conclusion. In Dynamex Operations West, Inc. v. Superior Court, 4 Cal. 5th 903, 917 (2018), the
            6    California Supreme Court held that the “suffer or permit to work” definition of “employ” in the
            7    Industrial Welfare Commission’s (“IWC”) wage orders incorporates the so-called ABC test. But the
            8    Court expressly limited its adoption of the ABC test to “one specific context”: “whether workers should
            9    be classified as employees or as independent contractors for purposes of California wage orders.” Id.
           10    at 913. And courts have consistently “declined to extend the ABC test, as set out in Dynamex, outside
           11    the context of wage orders”—and specifically refused to apply it to claims under Labor Code section
           12    2802. Becerra v. McClatchy Co., 69 Cal. App. 5th 913, 930, 933 (2021) (collecting cases).
           13           There is no reason to extend Dynamex to expense reimbursement claims under section 2802.
           14    Unlike the wage orders, section 2802 does not contain the “suffer or permit to work” language that
           15    Dynamex specifically construed. In fact, at the time Lawson used the Grubhub platform, section 2802
           16    did not define “employ” or “employer” at all. Borello’s common law test thus controls. See
           17    McClatchy, 69 Cal. App. 5th at 936 (“Because the Labor Code does not expressly define ‘employee’
           18    for purposes of section 2802, the common law test of employment applies.” (citation omitted)).
           19           Plaintiff seeks to escape this inevitable conclusion by arguing that his claim under section 2802
           20    is not a Labor Code claim at all, but instead arises from the wage orders because he seeks
           21    reimbursement for vehicle and phone expenses, which constitute “tools or equipment” within the
           22    meaning of Wage Order 9. But in all the years of this litigation, Plaintiff has never brought a wage
           23    order claim—let alone presented argument or evidence relevant to Wage Order 9—and it is too late to
           24    amend his Complaint to add such a claim now. See Navajo Nation v. U.S. Forest Serv., 535 F.3d 1058,
           25    1080 (9th Cir. 2008) (en banc). Moreover, Dynamex itself rejected Plaintiff’s argument that vehicle
           26    expenses are recoverable under Wage Order 9, finding that “the obligation to reimburse employees for
           27    business-related transportation expenses such as fuel or tolls” “do[es] not derive directly from the
           28    applicable wage order.” 4 Cal. 5th at 942 (emphasis added).

Gibson, Dunn &                                                     1
Crutcher LLP
                        GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                 CASE NO. 3:15-CV-05128-JSC
                      Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 7 of 20


            1           Any claim to reimbursement of phone expenses is doubly waived as Plaintiff never adduced
            2    evidence of his alleged damages, nor did he challenge on appeal whether Dynamex applies to this
            3    particular claim. See, e.g., Facebook, Inc. v. Power Ventures, Inc., 252 F. Supp. 3d 765, 775 (N.D.
            4    Cal. 2017) (“[A]n issue or factual argument waived at the trial level before a particular order is
            5    appealed, or subsequently waived on appeal, cannot be revived on remand.”), aff’d, 749 F. App’x 557
            6    (9th Cir. 2019). In any event, numerous courts have also concluded that the obligation to reimburse
            7    phone expenses arises under section 2802, not the wage orders. See, e.g., Salter v. Quality Carriers,
            8    Inc., 2021 WL 5049054, at *7 (C.D. Cal. Oct. 27, 2021) (finding that plaintiff’s reimbursement claim
            9    for “communication device use” was “not grounded in wage orders”).
           10           Plaintiff has also waived any argument that AB5’s ABC test governs Plaintiff’s expense
           11    reimbursement claim “[b]y failing to address the issue in [his] opening brief except in a footnote.” City
           12    of Emeryville v. Robinson, 621 F.3d 1251, 1262 n.10 (9th Cir. 2010). Even so, the argument is
           13    unpersuasive because AB5 does not expand the application of the ABC test retroactively. Rather, AB5
           14    “took effect only on January 1, 2020—long after Lawson stopped working for Grubhub.” Lawson v.
           15    Grubhub, Inc., 13 F.4th 908, 917 (9th Cir. 2021). As such, Borello remains the governing classification
           16    standard for Lawson’s reimbursement claim for expenses incurred in late 2015 and early 2016.
           17                                           II.     BACKGROUND
           18           Plaintiff Raef Lawson used the Grubhub platform as a driver from October 25, 2015, to
           19    February 14, 2016. Dkt. 221 at 3–4. On December 15, 2015, Plaintiff filed an Amended Complaint
           20    alleging that Grubhub misclassified him as an independent contractor and thereby violated various
           21    provisions of the California Labor Code. Dkt. 15. Specifically, Plaintiff averred that Grubhub “fail[ed]
           22    to reimburse its drivers for all necessary expenditures incurred in performing their duties, including but
           23    not limited to fuel, car maintenance, phones, and data, in violation of Labor Code § 2802.” Dkt. 41
           24    ¶ 33; see also Dkt. 4 Ex. A at 6; Dkt. 15 at 7. At no point did Plaintiff allege that Grubhub also violated
           25    Wage Order 9 by failing to reimburse vehicle and phone-related expenses. Rather, he consistently
           26    maintained both in his Complaint and throughout his subsequent filings that Grubhub failed to comply
           27    only with section 2802. See, e.g., Dkt. 36 at 4 (“The Allegations in this case are sufficient to state a
           28    claim for violation of Cal. Lab. Code § 2802 for failure to reimburse the delivery drivers for

Gibson, Dunn &                                                       2
Crutcher LLP
                         GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                  CASE NO. 3:15-CV-05128-JSC
                      Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 8 of 20


            1    expenses[.]” (capitalization omitted)); Dkt. 58 at 3 n.1 (“Lawson brings claims of violations of …
            2    § 2802[.]”); Dkt. 59 at 2 (“Plaintiffs’ complaint asserts … [the] failure to reimburse for business
            3    expenses in violation of Cal. Lab. Code § 2802[.]”); Dkt. 180 at 21 (“Plaintiff will show that GrubHub
            4    did not reimburse him for his expenses, in violation of Labor Code § 2802.” (capitalization omitted));
            5    Dkt. 217 at 73 (“Plaintiff established at trial that GrubHub is liable for its failure to reimburse Plaintiff’s
            6    necessary business expenses (Cal. Lab. Code § 2802)[.]”).
            7            The parties stipulated to conduct the trial in phases, “with the first phase … to be limited to
            8    Plaintiff’s individual claims and the issue of whether Plaintiff Lawson [wa]s an ‘aggrieved employee’
            9    under PAGA.” Dkt. 122 at 2. At the seven-day bench trial in September 2017, Plaintiff maintained
           10    that he drove over 500 miles using the Grubhub platform and that he was entitled to $286.10 in
           11    unreimbursed vehicle expenses, given “the IRS mileage reimbursement rates in effect at the time.” See
           12    Dkt. 217 at 38–39, 73–75. But he presented no argument or evidence regarding the amount of phone-
           13    related expenses that he allegedly incurred and Grubhub allegedly failed to reimburse. Id. Instead,
           14    Lawson explicitly disclaimed his request for reimbursement of phone expenses, deciding to “focus[]
           15    on the car [expenses] for purposes of th[e] trial.” Trial Tr. 65:1–4. Upon the conclusion of the trial,
           16    the Court determined that Plaintiff was properly classified as an independent contractor under Borello.
           17    Dkt. 221 at 17–33; see also Dkt. 249 at 2.
           18            Shortly thereafter, the California Supreme Court issued its decision in Dynamex, which adopted
           19    the ABC test solely to determine “whether workers should be classified as employees or as independent
           20    contractors for purposes of California wage orders.” 4 Cal. 5th at 913 (limiting its holding to this “one
           21    specific context”). The Court specifically declined to consider whether “the wage order definitions
           22    should apply to all the relief [the plaintiffs] sought under section 2802,” including “reimbursement for
           23    business expenses other than business expenses encompassed by the wage order.” Id. at 913 n.5. But
           24    the Court made clear that “the obligation to reimburse employees for business-related transportation
           25    expenses such as fuel or tolls” “do[es] not derive directly from the applicable wage order.” Id. at 942
           26    (emphasis added).
           27            The California Supreme Court subsequently clarified that “Dynamex’s interpretation of the
           28    suffer or permit to work definition in wage orders applies retroactively to all nonfinal cases governed

Gibson, Dunn &                                                         3
Crutcher LLP
                         GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                  CASE NO. 3:15-CV-05128-JSC
                      Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 9 of 20


            1    by similarly worded wage orders”—precisely because Dynamex was an interpretation of the specific
            2    language found in the wage orders. Vazquez v. Jan-Pro Franchising Int’l, Inc., 10 Cal. 5th 944, 948
            3    (2021) (capitalization omitted). Thus, Vazquez did not extend the ABC test beyond the wage order
            4    context addressed in Dynamex. See McClatchy, 69 Cal. App. 5th at 934 (“[A]lthough our Supreme
            5    Court has concluded that the Dynamex interpretation of the phrase ‘suffer or permit to work’ applies
            6    retroactively, this holding was limited to nonfinal cases governed by wage orders worded similarly to
            7    that in Dynamex.”). To the contrary, the Court underscored the narrow scope of Dynamex, which
            8    addressed only “what standard applies in determining” employment status “for purposes of the
            9    obligations imposed by California’s wage orders.” Vazquez, 10 Cal. 5th at 949–50.
           10            Following Dynamex, the California legislature enacted AB5, which took effect on January 1,
           11    2020—nearly four years after Plaintiff had stopped using the Grubhub platform. AB5 extended the
           12    ABC test beyond the Dynamex wage order context for “work performed on or after January 1, 2020”
           13    (Cal. Lab. Code § 2785(c)), while simultaneously limiting its application through various retroactively
           14    applicable exemptions (id. § 2785(b)). Accordingly, for non-wage order claims that predate January
           15    1, 2020, Borello continues to govern classification. See Lawson, 13 F.4th at 917 (“AB 5 expanded the
           16    application of the ABC test to the rest of the Labor Code, but that expansion took effect only on January
           17    1, 2020[.]”); McClatchy, 69 Cal. App. 5th at 935 (“[T]he Legislature has statutorily expanded the reach
           18    of the ABC test beyond the wage order context addressed in Dynamex. Nonetheless, the employee
           19    status of newspaper carriers is, and was at the time the carriers’ claims arose, determined by application
           20    of the Borello test.”).
           21            On appeal, Plaintiff contended that Dynamex applies to his claim “seeking reimbursement for
           22    the use of his vehicle”—not the use of his phone. Lawson, 13 F.4th 908 (No. 18-15386), Dkt. 28 at 29
           23    n.15 (emphasis added); see also id., Dkt. 61 at 9 (“Plaintiff’s § 2802 claim seek[s] reimbursement for
           24    use of his vehicle[.]”); id., Dkt. 82 at 4 (“[T]he ABC test also must be applied to Plaintiff’s claim for
           25    reimbursement for the use of his vehicle[.]”). The Ninth Circuit vacated this Court’s judgment under
           26    Borello and remanded for the Court to “decide in the first instance whether the ABC test applies to
           27    Lawson’s expense reimbursement claim.” Lawson, 13 F.4th at 917.
           28

Gibson, Dunn &                                                      4
Crutcher LLP
                         GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                  CASE NO. 3:15-CV-05128-JSC
                       Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 10 of 20


            1            On remand, Plaintiff filed a motion for summary judgment on the grounds that the ABC test
            2    governs his expense reimbursement claim for vehicle and phone reimbursement. Dkt. 253 at 14–17.
            3    But once again, Plaintiff adduced no evidence establishing any allegedly unreimbursed phone
            4    expenses. Instead, he simply maintained that he was entitled to reimbursement of vehicle expenses in
            5    the amount of $286.10. Id. at 18–20. The Court denied the motion without prejudice. Dkt. 260. But
            6    following a hearing on Grubhub’s offer of proof, the Court ordered that Plaintiff’s motion be construed
            7    “as a motion for partial summary judgment on the legal question of whether the ABC test applies to
            8    Plaintiff’s expense reimbursement claim.” Dkt. 269 at 1. The order directed Grubhub to file an
            9    opposition “limited to [that] legal question.” Id. at 2.1
           10                                              III.   ARGUMENT
           11            Borello applies to Plaintiff’s claim for reimbursement of vehicle and phone expenses incurred
           12    during the brief four months he used the Grubhub platform in late 2015 and early 2016. The California
           13    Supreme Court explicitly confined its holding in Dynamex to the wage order context, but Plaintiff has
           14    only ever alleged a violation of California Labor Code section 2802—not Wage Order 9. Moreover,
           15    Plaintiff has waived his claim to reimbursement of phone expenses by failing to present any evidence
           16    of alleged damages at trial or to assert this claim on appeal. In any event, courts have repeatedly found
           17    that vehicle and phone expenses are reimbursable only under section 2802 and do not constitute “tools
           18    or equipment” within the meaning of Wage Order 9. Dynamex does not apply retroactively except for
           19    wage order claims, nor does AB5 retroactively expand the application of the ABC test beyond the wage
           20    order context.
           21    A.      Dynamex Is Limited to the Wage Order Context.

           22            “Dynamex did not purport to replace the Borello standard in every instance where a worker

           23

           24     1
                      The Court also directed Grubhub to submit supplemental evidence regarding criteria (2), (8), and
                      (10) of AB5’s business-to-business exemption. See Dkt. 269 at 2. Should the Court ultimately find
           25         that Grubhub satisfies the business-to-business exemption, then Borello would govern all of
                      Plaintiff’s claims because AB5’s statutory exemptions apply retroactively. See Cal. Lab. Code
           26         § 2785(b) (“Insofar as the application of [AB5’s exemptions] would relieve an employer from
                      liability, those sections shall apply retroactively to existing claims and actions to the maximum
           27         extent permitted by law.”); id. § 2785(c) (“If a hiring entity can demonstrate compliance with all
                      of conditions set forth in any one of [AB5’s exemptions], then [the ABC test] and the holding in
           28         Dynamex do not apply to that entity, and instead the determination of an individual’s employment
                      status as an employee or independent contractor shall be governed by Borello.”).
Gibson, Dunn &                                                        5
Crutcher LLP
                         GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                  CASE NO. 3:15-CV-05128-JSC
                     Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 11 of 20


            1    must be classified as either an independent contractor or an employee for purposes of enforcing
            2    California’s labor protections.” Cal. Trucking Ass’n v. Su, 903 F.3d 953, 959 n.4 (9th Cir. 2018).
            3    Rather, “the Supreme Court recognized that different standards could apply to different statutory
            4    claims.” Garcia v. Border Transp. Grp., LLC, 28 Cal. App. 5th 558, 570 (2018); see Dynamex, 4 Cal.
            5    5th at 948 (“[I]t is possible … that a worker may properly be considered an employee with reference
            6    to one statute but not another.”). In fact, the Court expressly limited its adoption of the ABC test to
            7    “one specific context”—namely, “whether workers should be classified as employees or as independent
            8    contractors for purposes of California wage orders.” Dynamex, 4 Cal. 5th at 913. And the Court
            9    specifically declined to consider whether “the wage order definitions should apply to all the relief
           10    sought under section 2802.” Id. at 916 n.5.
           11           California courts have subsequently confirmed that Borello continues to govern non-wage order
           12    claims, including claims under section 2802. See McClatchy, 69 Cal. App. 5th at 930 (“[T]he
           13    determination of whether the carriers were employees or independent contractors for purposes of Labor
           14    Code section 2802 is governed by the common law test set out in Borello and its progeny.”); Garcia,
           15    28 Cal. App. 5th at 571 (“Borello furnishes the proper standard as to [plaintiff’s] non-wage-order
           16    claims.”); Gonzales v. San Gabriel Transit, Inc., 40 Cal. App. 5th 1131, 1157 (2019) (“As to Labor
           17    Code claims that are not either rooted in one or more wage orders, or predicated on conduct alleged to
           18    have violated a wage order, the Borello test remains appropriate.”). And in Vazquez, the California
           19    Supreme Court reiterated the narrow scope of Dynamex, emphasizing that it addressed only “what
           20    standard applies in determining” employment status “for purposes of the obligations imposed by
           21    California’s wage orders.” 10 Cal. 5th at 949–50.
           22           There is no basis for extending Dynamex to expense reimbursement claims under section 2802.
           23    After all, “Dynamex was based upon a determination concerning how the term ‘suffer or permit to
           24    work’ in California wage orders should be interpreted for purposes of … the wage orders.” Vazquez,
           25    10 Cal. 5th at 951. But section 2802 makes no reference to that definition of employment; indeed, it
           26    does not define “employee” or “employment” at all. Where “a statute refers to an ‘employee’ without
           27    defining the term, courts have generally applied the common law test of employment to that statute.”
           28    Arnold v. Mut. of Omaha Ins. Co., 202 Cal. App. 4th 580, 586 (2011). And Borello, of course,

Gibson, Dunn &                                                       6
Crutcher LLP
                        GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                 CASE NO. 3:15-CV-05128-JSC
                       Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 12 of 20


            1    “embod[ies] the common law test.” Dynamex, 4 Cal. 5th at 934; accord McClatchy, 69 Cal. App. 5th
            2    at 936 (“Because the Labor Code does not expressly define ‘employee’ for purposes of section 2802,
            3    the common law test of employment applies.” (citation omitted)).
            4            Plaintiff’s reliance on Duffey v. Tender Heart Home Care Agency, LLC, 31 Cal. App. 5th 232
            5    (2019), is misplaced. That case concerned the Domestic Worker Bill of Rights which contained “one
            6    of the wage orders’ alternative definitions [of employer] verbatim.” Id. at 246. So the court naturally
            7    concluded that the “Legislature’s use of this definition indicate[d]” its intent to “incorporate the
            8    meaning of that term as set forth in” Martinez v. Combs, 49 Cal. 4th 35 (2010). Id. at 247.2 Here, by
            9    contrast, section 2802 does not contain the “suffer or permit to work” definition of “employ” found in
           10    the wage orders, and Dynamex does not extend beyond the language it construed. See, e.g., McClatchy,
           11    69 Cal. App. 5th at 934 (“[T]he Dynamex ABC test is limited to claims governed by wage orders that
           12    employ the ‘suffer or permit to work’ standard.”); Garcia, 28 Cal. App. 5th at 571 (“Dynamex applied
           13    the ‘suffer or permit to work’ standard contained in the wage order without deciding what standard
           14    applied to non-wage-order claims … under Labor Code, section 2802.”).
           15            Plaintiff falls back on the “general worker-protective purpose behind wage and hour legislation”
           16    in urging that the ABC test should extend to section 2802 notwithstanding the established precedent to
           17    the contrary. Mot. at 17 (citation omitted). But section 2802 is not a wage and hour law as it neither
           18    “mentions wages or hours” nor “appear[s] in the parts of the Labor Code titled ‘compensation’ or
           19    ‘working hours.’” S. Cal. Pizza Co., LLC v. Certain Underwriters at Lloyd’s, London etc., 40 Cal.
           20    App. 5th 140, 150 (2019). Whereas wage and hour legislation seeks to secure “the minimal wages and
           21    working conditions that are necessary to enable [workers] to obtain a subsistence standard of living”
           22    (Dynamex, 4 Cal. 5th at 952), section 2802 “ensures employers are bearing all of the costs inherent in
           23    conducting their businesses” (S. Cal. Pizza, 40 Cal. App. 5th at 151 (cleaned up)). Section 2802’s
           24    purpose and function are therefore distinct: It provides “[d]isbursements for losses and work-related
           25

           26
                  2
                      Plaintiff contends that “Duffey provides another alternative basis for the Court to find Plaintiff was
           27         an employee under Martinez.” Mot. at 17 n.15. But Martinez is irrelevant to this case. Martinez
                      is “[t]he controlling case on joint employment in California” (Medina v. Equilon Enters., LLC, 68
           28         Cal. App. 5th 868, 874 (2021); Henderson v. Equilon Enters., LLC, 40 Cal. App. 5th 1111, 1130
                      (2019)), and Plaintiff has never suggested that Grubhub is a joint employer.
Gibson, Dunn &                                                       7
Crutcher LLP
                          GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                   CASE NO. 3:15-CV-05128-JSC
                      Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 13 of 20


            1    expenditures,” “not payments made in exchange for labor or services.” Id. at 150; see also, e.g.,
            2    Gattuso v. Harte-Hanks Shoppers, Inc., 42 Cal. 4th 554, 572 (2007) (recognizing the “valid and
            3    important distinction between wages (as payment for labor performed) and business expense
            4    reimbursement”). Given that section 2802 serves “separate purpose[s],” including “provid[ing] for
            5    indemnification for third-party suits,” courts have thus found that it “is not a wage and hour law.”
            6    Hanover Ins. Co. v. Poway Acad. of Hair Design, Inc., 2016 WL 6698936, at *4 (S.D. Cal. Nov. 14,
            7    2016).
            8             But even if it were, Plaintiff “ha[s] not provided any authority or evidence that classifying [him]
            9    as [an] employee[] would better effectuate the purpose of the statute than would classifying [him] as
           10    [an] independent contractor[].” Valadez v. CSX Intermodal Terminals, Inc., 2019 WL 1975460, at *11
           11    (N.D. Cal. Mar. 15, 2019). If Plaintiff is truly an independent contractor (and he is), “it would not
           12    serve the purpose of the statute to require [Grubhub] to reimburse [hi]m.” Id. That is especially true
           13    because Dynamex itself “did not purport to replace the Borello standard in every instance” (Su, 903
           14    F.3d at 959 n.4), but only “for purposes of California wage orders” (Dynamex, 4 Cal. 5th at 913). The
           15    Court should therefore decline Plaintiff’s invitation to stretch Dynamex beyond the “one specific
           16    context” it addressed. Id.
           17    B.       Plaintiff’s Expense Reimbursement Claim Arises from Labor Code Section 2802—Not
                          Wage Order 9.
           18
                          Perhaps recognizing that Dynamex does not apply to section 2802 itself, Plaintiff contends that
           19
                 the ABC test governs his particular expense reimbursement claim because it “mirrors” the
           20
                 requirements found in Wage Order 9. Mot. at 14. That wage order provides that “[w]hen tools or
           21
                 equipment are required by the employer or are necessary to the performance of a job, such tools and
           22
                 equipment shall be provided and maintained by the employer.” Cal. Code Regs. tit. 8, § 11090(9)(B)
           23
                 (emphasis added). It never mentions reimbursement or indemnity for expenses. Plaintiff nonetheless
           24
                 insists that because he seeks reimbursement for “use of his vehicle and cell phone”—which he says
           25
                 constitute “tools or equipment” within the meaning of the wage order—Dynamex must extend to his
           26
                 claim. Mot. at 14.
           27
                          Not so. For starters, Plaintiff has never alleged a violation of Wage Order 9 in his Complaint
           28
                 but has sought expense reimbursement solely under section 2802. Dkt. 4 Ex. A at 7; Dkt. 15 at 7; Dkt.
Gibson, Dunn &                                                        8
Crutcher LLP
                          GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                   CASE NO. 3:15-CV-05128-JSC
                       Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 14 of 20


            1    41 at 7. It is well settled that the Court may “not consider claims raised for the first time at summary
            2    judgment which Plaintiff[] did not raise in [his] pleadings.” Burrell v. Cty. of Santa Clara, 2013 WL
            3    2156374, at *11 (N.D. Cal. May 17, 2013); see also, e.g., Navajo Nation, 535 F.3d at 1080 (holding
            4    that the district court need not consider a claim omitted from the complaint and raised for the first time
            5    at summary judgment); Chaganti v. I2 Phone Int’l, Inc., 313 F. App’x 54, 55–56 (9th Cir. 2009) (noting
            6    that a claim raised “for the first time … in [plaintiff’s] motion for summary judgment … is not properly
            7    before the court”). That is especially so here, where the parties have already litigated Plaintiff’s section
            8    2802 claim through trial—without any indication that Plaintiff’s claim rested on Wage Order 9. See
            9    Coleman v. Quaker Oats Co., 232 F.3d 1271, 1292 (9th Cir. 2000) (“A complaint guides the parties’
           10    discovery, putting the defendant on notice of the evidence it needs to adduce in order to defend against
           11    the plaintiff’s allegations.”). Rather, at every turn, Plaintiff maintained that he sought reimbursement
           12    under section 2802 alone. See, e.g., Dkt. 36 at 3–4; Dkt. 58 at 3 n.1; Dkt. 59 at 2; Dkt. 180 at 21; Dkt.
           13    217 at 73. It is simply too late for Plaintiff now to change course and invoke Wage Order 9 as a basis
           14    for his reimagined claim.3
           15            In any event, Dynamex itself squarely rejected Plaintiff’s argument that vehicle-related
           16    expenses are recoverable under Wage Order 9. The Court specifically held that “the obligation to
           17    reimburse employees for business-related transportation expenses such as fuel or tolls” “do[es] not
           18    derive directly from the applicable wage order.” Dynamex, 4 Cal. 5th at 942 (emphasis added).
           19    Similarly, in Estrada v. FedEx Ground Package System, Inc., 154 Cal. App. 4th 1 (2007), the court
           20    found that “neither an automobile nor a truck is considered a tool” and that “an automobile is not the
           21    type of equipment contemplated in the IWC Orders.” Id. at 23–24, 23 n.25 (emphases added) (citations
           22    omitted).4 As such, Plaintiff’s claim for reimbursement of vehicle expenses is a section 2802 claim—
           23    not a wage order claim. (That, of course, is why Plaintiff has always alleged that Grubhub violated
           24

           25     3
                      There is no excuse for this pleading failure. Wage Order 9 has existed for decades, and Plaintiff
                      easily could have alleged a violation of its provisions if he intended to bring such a claim.
           26
                  4
                      Plaintiff misreads Estrada. While the Estrada court noted that “it is perfectly lawful for an
           27         employer to require its employees to provide their own vehicles as a condition of employment,
                      provided only that the employees must be reimbursed for the expenses thereby incurred” (154 Cal.
           28         App. 4th at 24–25), the source of this reimbursement requirement was “section 2802”—not the
                      wage orders (id. at 22).
Gibson, Dunn &                                                     9
Crutcher LLP
                         GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                  CASE NO. 3:15-CV-05128-JSC
                      Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 15 of 20


            1    section 2802, not Wage Order 9.) Because Dynamex is limited to the wage order context and did not
            2    “decid[e] what standard applied to non-wage-order claims, such as claims for reimbursement of fuel or
            3    tolls under Labor Code, section 2802,” Borello continues to govern Plaintiff’s claim for vehicle
            4    expenses. Garcia, 28 Cal. App. 5th at 571 (second emphasis added).
            5           Borello governs Plaintiff’s claim for phone expenses, too. But the Court need not consider this
            6    question as Plaintiff has long since abandoned that claim. Notably, the parties agreed to try the merits
            7    of “Plaintiff’s individual claims” at the first phase of the trial. Dkt. 122 at 2. Despite bearing the
            8    burden to establish his “entitle[ment] to a monetary recovery” under section 2802 (Espejo v. The Copley
            9    Press, Inc., 13 Cal. App. 5th 329, 373 (2017)), Plaintiff presented no evidence of any phone expenses
           10    he allegedly incurred and Grubhub allegedly failed to reimburse (see generally Dkt. 217). In fact, he
           11    expressly disclaimed any attempt to recover phone expenses, instead “focusing on the car [expenses
           12    claim] for purposes of th[e] trial.” Trial Tr. 65:1–4. Nor did Plaintiff mention any claim for phone
           13    expenses on appeal.      Rather, he contended that Dynamex applies only to his claim “seeking
           14    reimbursement for the use of his vehicle”—not the use of his phone. Lawson, 13 F.4th 908 (No. 18-
           15    15386), Dkt. 28 at 29 n.15; see also id., Dkt. 61 at 9 (same); id., Dkt. 82 at 4 (same); Dkt. 253 at 14–
           16    17 (seeking damages only for allegedly unreimbursed vehicle expenses). By failing to establish any
           17    loss resulting from the alleged denial of phone reimbursement at trial and by failing to raise this claim
           18    on appeal, Plaintiff has doubly waived any claim to phone expenses. See, e.g., Facebook, 252 F. Supp.
           19    3d at 775 (“[A]n issue or factual argument waived at the trial level before a particular order is appealed,
           20    or subsequently waived on appeal, cannot be revived on remand.”); Apple Inc. v. Samsung Elecs. Co.,
           21    2017 WL 3232424, at *14 (N.D. Cal. July 28, 2017) (same).
           22           Even if Plaintiff had preserved his claim for phone expenses, that claim is still subject to
           23    Borello. The Complaint seeks reimbursement for “phone data” (Dkt. 41 ¶ 21), which does not fall
           24    within the ordinary meaning of “tools or equipment” as used in Wage Order 9 (see Tool, Merriam-
           25    Webster’s Collegiate Dictionary 1317 (11th ed. 2020) (“a handheld device that aids in accomplishing
           26    a task”); Equipment, id. at 423 (“the implements used in an operation or activity”)). While phone data
           27    may be recoverable under section 2802 as a “necessary expenditure[] or loss[]” (Cal. Lab. Code.
           28    § 2802(a)), the same cannot be said for Wage Order 9, which is limited to “tools or equipment” (Cal.

Gibson, Dunn &                                                      10
Crutcher LLP
                         GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                  CASE NO. 3:15-CV-05128-JSC
                     Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 16 of 20


            1    Code Regs. tit. 8, § 11090(9)(B)). Simply put, section 2802 is not coextensive with Wage Order 9,
            2    which does not provide reimbursement for vehicle or phone expenses.
            3           That is why courts have routinely concluded that Borello remains the applicable classification
            4    standard for claims for vehicle and phone reimbursement. In McClatchy, for example, the court
            5    unequivocally recognized that “the Dynamex ABC test is limited to claims governed by wage orders
            6    that employ the ‘suffer or permit to work’ standard” and that the plaintiffs’ “claims for business-related
            7    transportation expenses brought pursuant to Labor Code section 2802 a[re] non-wage-order
            8    claims.” 69 Cal. App. 5th at 934. The court rejected the plaintiffs’ argument that their claim for
            9    mileage expenses arose from the wage order which ostensibly “‘complements’ and ‘applies’ to Labor
           10    Code section 2802.” Id. at 934 n.9. And the court concluded that “Borello remains the applicable test
           11    for determining whether the carriers were independent contractors or employees” for purposes of their
           12    section 2802 claim. Id. at 933.
           13           Similarly, in Salter, the court “decline[d] to expand the application of the Dynamex ABC test
           14    beyond the ‘one specific context’ endorsed by the California Supreme Court.” 2021 WL 5049054, at
           15    *7 (citation omitted). Just as here, the plaintiff in Salter “allege[d] that his expense indemnification
           16    claim arises under California Labor Code § 2802, and not a wage order.” Id. at *8. And because a
           17    “truck does not qualify as a ‘hand tool’ or ‘equipment’ as used in Wage Order No. 9,” the court
           18    determined that Borello applied to the plaintiff’s claim for indemnification of “insurance, fuel, tolls,
           19    communication device use, tires, and truck repair.” Id.
           20           These courts are not alone. A veritable avalanche of authority demonstrates that Borello
           21    continues to govern non-wage order claims, including those for reimbursement of vehicle and phone
           22    expenses under section 2802. See, e.g., Garcia, 28 Cal. App. 5th at 571 (“Borello furnishes the proper
           23    standard as to [plaintiff’s] non-wage-order claims.”); Salgado v. Daily Breeze, 2018 WL 2714766, at
           24    *4, *15 n.6 (Cal. Ct. App. June 6, 2018) (holding that “the common law Borello test govern[ed]” a
           25    newspaper delivery driver’s claim for “reimbursement of mileage [and] other business expenses”);
           26    Rosset v. Hunter Eng’g Co., 2018 WL 4659498, at *1, *3 n.2 (Cal. Ct. App. Sept. 27, 2018) (finding
           27    that the plaintiff’s expense reimbursement claim was “not based on alleged violations of any California
           28    wage orders”); Haitayan v. 7-Eleven, Inc., 2021 WL 757024, at *5 (C.D. Cal. Feb. 8, 2021) (holding

Gibson, Dunn &                                                      11
Crutcher LLP
                         GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                  CASE NO. 3:15-CV-05128-JSC
                        Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 17 of 20


            1    that Dynamex does not apply to plaintiffs’ section 2802 claim); Valadez, 2019 WL 1975460, at *10
            2    (same); Henry v. Cent. Freight Lines, Inc., 2021 WL 3187257, at *2–3 (E.D. Cal. July 28, 2021) (same
            3    where plaintiff pursued recovery for “fuel expenses”); Moreno v. JCT Logistics, Inc., 2019 WL
            4    3858999, at *8, *12 (C.D. Cal. May 29, 2019) (same where plaintiff sought damages for “unreimbursed
            5    costs for fuel and insurance”); Alvarez v. XPO Logistics Cartage LLC, 2018 WL 6271965, at *4, *7
            6    (C.D. Cal. Nov. 15, 2018) (same where plaintiff sought recovery for “fuel costs,” “insurance costs,”
            7    “truck lease payments,” “equipment maintenance and repair costs,” and “fees for tablet computers used
            8    for dispatch assignments”), order vacated on reconsideration on other grounds sub nom. Omar Alvarez
            9    v. XPO Logistics Cartage, LLC, 2021 WL 4057249 (C.D. Cal. June 24, 2021). This Court should
           10    follow suit and reaffirm its prior holding that Plaintiff is properly classified as an independent
           11    contractor under Borello for purposes of his section 2802 claim.
           12             Gonzales does not counsel otherwise. Plaintiff suggests that the court applied “the ABC test to
           13    … Plaintiff’s expense reimbursement claim (which included claims for vehicle-related expenses),
           14    which was encompassed by the wage orders.” Mot. at 15. But the court did no such thing. It simply
           15    held that “statutory claims alleging misclassification not directly premised on wage order protections
           16    … are appropriately analyzed under … the ‘Borello’ test.” Gonzales, 40 Cal. App. 5th at 1140. And
           17    it remanded to the trial court to “evaluate which Labor Code claims enforce wage order requirements,
           18    and which do not.” Id. at 1141. Critically, though, the plaintiff in Gonzales “specifically alleged
           19    violations of both the Labor Code and Wage Order No. 9” in his complaint. Id. at 1157. Here,
           20    however, Plaintiff has always asserted his expense reimbursement claim exclusively under
           21    section 2802. Dkt. 41 at 7. He has long since forfeited any reliance on Wage Order 9. See supra at
           22    8–9.
           23             Johnson v. VCG-IS, LLC, 2018 WL 3953771 (Cal. Super. Ct. July 18, 2018), offers Plaintiff no
           24    more support. In an unpublished, non-precedential opinion, the superior court decided, with little
           25    analysis, that Dynamex governs an expense reimbursement claim where “the applicable wage order …
           26    covers each of [the alleged] violations.” Id. at *3. But Johnson involved exotic dancers’ claim for
           27    “business-related expenditures, including accessories and music,” under Wage Order 10. Third Am.
           28    Compl. ¶ 25, Johnson, 2018 WL 7628876 (Feb. 8, 2018). That outlier decision did not address Wage

Gibson, Dunn &                                                      12
Crutcher LLP
                          GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                   CASE NO. 3:15-CV-05128-JSC
                      Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 18 of 20


            1    Order 9, much less a claim for vehicle and phone expenses—as Plaintiff advances here.
            2           The Division of Labor Standards Enforcement’s opinion letter is likewise unavailing. That
            3    letter is “not subject to the rulemaking procedures of the Administrative Procedure Act” and thus is
            4    “not entitled to any deference” under California law. Hernandez v. Pac. Bell Tel. Co., 29 Cal. App.
            5    5th 131, 143 (2018); McClatchy, 69 Cal. App. 5th at 928 (same). Regardless, the letter merely
            6    acknowledges that “Dynamex ties application of the ABC test to enforcement of obligations imposed
            7    by the wage orders.” Mot. Ex. A at 1. It likewise contends that “reimbursement claims under section
            8    2802 that enforce specific requirements directly set forth in the wage orders are also governed by the
            9    ABC test.” Id. at 3 (emphases added). That is of no moment here. Wage Order 9 does not specifically
           10    require reimbursement, nor does it directly cover vehicle and phone expenses.
           11           The only case that has applied the ABC test to claims for phone and transportation expenses is
           12    Goro v. Flowers Foods, Inc., 2021 WL 4295294 (S.D. Cal. Sept. 21, 2021)—and that was because the
           13    defendant had waived the argument that section 2802, not the wage order, governed the claims. See
           14    id. at *8 (noting that the defendants had “decline[d] to address whether [the plaintiff’s] claims relate to
           15    wage orders” and “rel[ied] solely on the fact [that they] arose before January 1, 2020”). Here, by
           16    contrast, Plaintiff’s expense reimbursement claim does not relate to Wage Order 9 because vehicle and
           17    phone expenses do not constitute “tools or equipment” within the meaning of the wage order. See
           18    supra at 9–10. What’s more, the decision in Goro predated McClatchy, where the California Court of
           19    Appeal made clear that “claims for business-related transportation expenses brought pursuant to Labor
           20    Code section 2802 a[re] non-wage-order claims” to which Borello applies. McClatchy, 69 Cal. App.
           21    5th at 934. The Court should follow the overwhelming weight of authority and hold that Borello
           22    governs Plaintiff’s section 2802 claim for vehicle and phone expenses.
           23    C.     Assembly Bill 5 Does Not Expand Dynamex Retroactively.

           24           The subsequent enactment of AB5 does not change the analysis. In a single line buried in a

           25    footnote, Plaintiff posits that his “Section 2802 claim is also clearly covered by the ABC test from A.B.

           26    5, which states that the ABC test governs for the purposes of ‘the provisions of this code [the Labor

           27    Code].’” Mot. at 16 n.14 (citation omitted). But Plaintiff ceased using the Grubhub platform years

           28    before AB5’s passage and does not present any legal argument or authority establishing that AB5

Gibson, Dunn &                                                      13
Crutcher LLP
                         GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                  CASE NO. 3:15-CV-05128-JSC
                     Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 19 of 20


            1    applies retroactively. This issue is thus waived. See Robinson, 621 F.3d at 1262 n.10 (finding waiver
            2    where the plaintiff “fail[ed] to address the issue in its opening brief except in a footnote”); Foti v.
            3    McHugh, 247 F. App’x 899, 901 (9th Cir. 2007) (“The summary mention of an issue in a footnote,
            4    without reasoning in support of the … argument, is insufficient to raise the issue[.]”).
            5           In any event, courts have uniformly concluded that “AB-5 is not retroactive.” Salter, 2021 WL
            6    5049054, at *6; see also Henry, 2021 WL 3187257, at *3; Haitayan, 2021 WL 757024, at *5. “A basic
            7    canon of statutory interpretation is that statutes do not operate retrospectively unless the Legislature
            8    plainly intended them to do so.” W. Sec. Bank v. Super. Ct., 15 Cal. 4th 232, 243 (1997). Nothing in
            9    the text or legislative history of AB5 suggests a “clear and unavoidable intent to have the statute
           10    retroactively impose liability.” McClung v. Emp. Dev. Dep’t, 34 Cal. 4th 467, 476 (2004). To the
           11    contrary, the legislature specified that AB5 “appl[ies] retroactively” only “[i]nosfar as the application
           12    of [its statutory exemptions] would relieve an employer from liability.” Cal. Lab. Code § 2785(b)
           13    (emphasis added). Otherwise, AB5 governs only “work performed on or after January 1, 2020.” Id.
           14    § 2785(c); accord Lawson, 13 F.4th at 912 (noting that AB5’s “exemptions, unlike the rest of AB 5,
           15    … apply retroactively” (citation omitted)).
           16           To the extent Plaintiff may argue that AB5 applies retroactively because it merely clarifies
           17    existing law, he is mistaken. AB5 “is declaratory of[] existing law” solely “with regard to wage orders
           18    of the [IWC] and violations of this code relating to wage orders.” Cal. Lab. Code § 2785(a). But
           19    insofar as AB5 expands the holding of Dynamex beyond the wage order context, AB5 does not do so
           20    retroactively. See id. § 2785(c); accord Lawson, 13 F.4th at 917 (“AB 5 expanded the application of
           21    the ABC test to the rest of the Labor Code, but that expansion took effect only on January 1, 2020—
           22    long after Lawson stopped working for Grubhub.”). Accordingly, because Dynamex does not extend
           23    to non-wage orders and AB5 does not apply retroactively, “the employee status of [Lawson] is, and
           24    was at the time [his] claims arose, determined by application of the Borello test.” McClatchy, 69 Cal.
           25    App. 5th at 935.
           26                                            IV.    CONCLUSION
           27           Consistent with the overwhelming weight of authority, the Court should hold that Borello
           28    continues to govern Plaintiff’s classification for purposes of his expense reimbursement claim.

Gibson, Dunn &                                                     14
Crutcher LLP
                        GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                 CASE NO. 3:15-CV-05128-JSC
                     Case 3:15-cv-05128-JSC Document 272 Filed 05/12/22 Page 20 of 20


            1    Dated: May 12, 2022                 GIBSON, DUNN & CRUTCHER LLP
            2
                                                     By: /s/ Theane Evangelis
            3                                                Theane Evangelis
            4                                        Attorneys for Defendants
                                                     GRUBHUB HOLDINGS INC. and GRUBHUB INC.
            5

            6

            7

            8

            9

           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &                                           15
Crutcher LLP
                       GRUBHUB’S OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                CASE NO. 3:15-CV-05128-JSC
